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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF RHODE ISLAND

 

 

)
CHANNY V., )
Plaintiff, )
)

¥. C.A, No. 20-90-JJM-LDA
ANDREW M. SAUL, Commissioner of _ )
Social Security Administration, )
Defendant. )
)

ORDER

Before the Court is the Report and Recommendation of Magistrate Judge
Lincoln D. Almond (“R&R”) recommending that Plaintiffs Motion to Reverse (ECF
No. 10) be GRANTED, the Commissioner’s Motion to Affirm (ECF No. 18) be
DENIED, and that Final Judgment enter in favor of Plaintiff reversing the
Commissioner's decision pursuant to sentence four of 42 U.S.C. section 405(g) and
remanding this case solely for the calculation and payment of benefits. The
Commissioner Objects. ECF No. 17.

After reviewing the motions, the R&R, and the objections, the Court accepts
the R&R for the reasons stated therein. The Commissioner's objections to the R&R
are overruled, The confusing testimony is directly related to the language difficulties
of the elderly immigrant from Cambodia. Moreover, the award of benefits under
section four of 405(g) is also appropriate here based on the record before the Court
and after a previous remand of this matter where the record was not adequately

developed as instructed.

 
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Plaintiff's Motion to Reverse (ECF No. 10) be GRANTED, the Commissioner's
Motion to Affirm (ECF No. 13) be DENIED, and that Final Judgment shall enter in
favor of Plaintiff reversing the Commissioner’s decision pursuant to sentence four of
42 U.S.C. section 405(g) and remanding this case solely for the calculation and

payment of benefits.

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i. J. McConnell, Jr.
Chief Judge
United States District Court

 

October 19, 2020

 
